Case 2:00-cv-06803-RSWL-Mc Document 44 Filed 08/29/01 Page 1of4 Page ID #:52

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BY

 

CALIFORNIA ASSOCIATION OF HEALTH
PLANS, a California Non-Profit Mutual Benefit
Corporation,

Plaintiff,

DANIEL ZINGALE, in his capacity as
DIRECTOR OF THE CALIFORNIA
DEPARTMENT OF MANAGED HEALTH
CARE and Does 1 through 10, inclusive,

Defendants.

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Plaintiff California Association of Health Plan’s Motion for Summary Judgment came on
for hearing on June 25, 2001 at 9:00 a.m. in Courtroom 21 of this Court. Based on all of the

evidence and papers presented, including the argument of counsel for the parties, it appears that

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Case No. 00-06803 RSWL (Mcx)

PROPOSEDT ORDER GRANTING
PL *S MOTION FOR

SUMMARY JUDGMENT

(Filed concurrently with (i) Notice of
Motion and Motion For Summary
Judgment (ii) Memorandum of Points and
Authorities in Support of Motion for
Summary Judgment, (iii) Statement of
Uncontroverted Facts and Conclusions of
Law, (iv) Declarations of Peter Roan and
Deborah Espinal and Exhibits thereto, (v)
Stipulated Facts Re Summary Judgment,
and (vi) Appendix of Preempted Laws and
Regulations

Date: June 25, 2001

Time: 9:00 a.m.

Courtroom: 21

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there are no material facts in dispute and that this is an appropriate case to be resolved on |
summary judgment pursuant to Fed. R. Civ. P. 56.

1. This is a case in which declaratory and injunctive relief under 28 U.S.C. §§
2201-2202 is appropriate as irreparable harm is likely to result if the relief requested is not
granted and it is likely that future disputes will arise based on the controversy described in the
Second Amended Complaint if the relief requested is not granted.

2. All California State standards relating to benefit requirements (including cost-
sharing requirements), requirements relating to the inclusion or treatment of providers,
coverage determinations (including related appeals and grievance procedures) and marketing
materials as they may concern health care service plans in California that participate in the
Medicare + Choice program are superseded by section 1856(b)(3)(B) of the Social Security Act,
as amended, 42 U.S.C. § 1395w-26(b)(3)(B). Said State standards include the following:

A. State standards relating to benefit requirements (including cost-sharing
requirements) specifically preempted by 42 U.S.C. § 1395w-26(b)(3)(B)G@): Cal. Health &
Safety Code § (“HS”) 1345(b)(1)-(7), 1363.01, 1367(h)-(j), 1367.05, 1367.09, 1367.2, 1367.3,

. 1367.51, 1367.54, 1367.6, 1367.61, 1367.62, 1367:63, 1367.635, 1367.64, 1367.65, 1367.66,
1367.665, 1367.67, 1367.68, 1367.71, [DRT 1367.8, 1367.9, 1367.11, LER DERE
1367.20, 1367.21, 1367.215, 1367.22, 1367.24, 1367.25, I 1368.5, 1371°4, 1371.5,
1373(b)(c)(f(q), 1373.4, 1373.14, 1373.96, 1373.14, 1374/5, 1374.56, 1374.7(a)(second
sentence of that provision only), 1374.11, 1374.12, 1374.16, 1374.72 and 1383.15; 28 C.C.R.

nnn ——

8§ 1300.67, 1300.67.1, 1300.67.2, 1300.67.2.1, 1300.71.4 and(T300-80(8K6),7
B. | State standards relating to inclusion or treatment of providers specifically
preempted by 42 U.S.C. § 1395w-26(b)(3)(B)(ii): HS 1366.4(b)(d), 1367.02, 1367.69, \
1367.695, 1371, 1371.2, 1371.35, 1373(b), 1373.3, 1373.65, 1373. 7, 1373.8, 1373.9,
1373.11, 1373.12, 1373.13, 1373.18, 1395.5 and 1395.6; 28 C.C.R. §§ 1300.51(¢)()@) and
1300.80(b)(5), (6)(A)(B). \o6TeI@, 1300- BOLO) 4g 4
C. State standards relating to coverage determinations including appeals and

grievances specifically preempted by 42 U.S.C. § 1395w-26(b)(3)(B)(iii): HS 1363.5, 1367.01,

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1368, 1368.01, 1368.03, 1368.04, 1368.1, 1370.2, 1370.4, 1371.36, 1371.37, 1371.8, 1373(i),
1373.19, 1373.20, 1373.21, 1374.30, 1374.31, 1374.32, 1374.33, 1374.34, 1374.35 and
1399.55; 28 C.C.R. §§ 1300.68, 1300.68.01 and 1300.80(b)(6)(C). 13 6@.o02lb )

D. State standards relating to marketing materi summaries and schedules of
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benefits regarding Medicare + Choice-plins specifically preempted by 42 U.S.C. § 1395w-
"lo, vat not), Cerda)

26(b)(3)(B)iv): HS 1360-1361, 1362, 136741363.05, 1363.1, 1364, 1367.05(6),

1S eas on 1373, 1383.1(a)(second sentence only), 1395(a)(g)(h), 1395.5 and

1395.6; 28 C.C.R. §§ 1300.61, 1300.61.3, 1300.63.1, 1300.63.2, 1300.65 and 1300.65.1.

(Said laws and regulations subject to preemption under 42 U.S.C. § 1395w-26(b)(3)(B) will

hereafter be referred to as the “Specifically Preempted Laws.”)

3. The Defendant and anyone purporting to act on his behalf is hereby enjoined from
enforcing or attempting to enforce any State law, regulation, order or requirement of any and all
type that is subject to preemption by section 1856(b)(3)(B) of the Social Security Act, as
amended, 42 U.S.C. § 1395w-26(b)(3)(B) including, but not limited to, the Specifically

Preempted Laws.

IT IS SO ORDERED.

Dated: a4 200 |
RONALG S. W LEW

 

Hon. Ronald S.W. Lew
UNITED STATES DISTRICT JUDGE

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PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

] am employed in the County of Los Angeles; I am over the age of eighteen years
and not a party to the within action; my business address is: 350 South Grand, Suite 2100, Los
Angeles, California 90071.

On May 25, 2001, I served the following document described as [PROPOSED] ORDER
GRANTING PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT on ‘the interested ,
parties to be noticed in said action, by mailing a true copy as follows:

Tammy Chung Ryu

Supervising Deputy Attorney General
OFFICE OF THE ATTORNEY GENERAL
300 South Spring Street, Suite 5000

Los Angeles, CA 90013

[X ] BY MAIL [am "readily familiar" with the firm's practice for collection and
processing of correspondence for mailing; under the practice it would be deposited with the
United States Postal Service on the same day with postage thereon fully prepaid at Los Angeles,
California in the ordinary course of business. I am aware that on motion of the party served,
service is presumed invalid if the postal cancellation date or postage meter date is more than one
day after date of deposit for mailing an affidavit.

[ ] BY FACSIMILE _ I transmitted the foregoing document to the addressee(s) as

. listed on the attached Service List.

{ ] BY.FEDERAL EXPRESS lam “readily familiar” with the firm’s practice for
collection and processing of correspondence for overnight mail/Federal Express; under the
practice it is deposited in a box or other facility regularly maintained by the express service
carrier, or delivered to an authorized courier or driver authorized by the express service carrier
to receive documents, in an envelope or package designated by the express service carrier with
delivery fees paid or provided for to the addressee(s) as listed on the attached Service List

[ ] BY PERSONAL SERVICE I caused the foregoing document to be hand
delivered to the offices of the addresse(s) as listed on the attached Service List. _

] STATE I declare under penalty of perjury under the laws of the State of
California that the foregoing is true and correct and that this declaration was executed on May
__, 2001 at Los Angeles, California.

[X ] FEDERAL I declare that ] am employed in the office of a member of the bar of
this court at whose direction the service was made.

Sr — Lynda Harrison

 
